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                                                                                 ELECTRONICALLY FILED
                                                                                    Pulaski County Circuit Court
                                                                                  Larry Crane, Circuit/County Clerk
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              IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                                CIVIL DIVISION

DAREL ADELSBERGER and                                                              PLAINTIFFS
ANNETTE ADELSBERGER

v.                                    No. 60CV-18-8248

UNION PACIFIC RAILROAD COMPANY                                                    DEFENDANT

                                 ENTRY OF APPEARANCE


       Comes now, Joseph P. McKay of Friday, Eldredge & Clark, LLP, and hereby enters his

appearance on behalf of Defendant Union Pacific Railroad Company and requests that the Clerk

of the Court enter his name as an additional Attorney of Record for Union Pacific Railroad

Company in the above matter, and that he receive copies of any and all further notices, pleadings

and correspondence in this matter.



                                            Respectfully submitted,

                                            Joseph P. McKay, #99006
                                            Joshua C. Ashley, #2012051
                                            FRIDAY, ELDREDGE & CLARK, LLP
                                            400 West Capitol Avenue, Suite 2000
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                                            Isl Joseph P. McKay
                                            Joseph P. McKay



Entry of Appearance                                                                              1/2
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                                 CERTIFICATE OF SERVICE

       I, Joseph P. McKay, certify that a true and correct copy of this filing has been filed with
   the Court's eFlex filing system, and served by electronic mail and first class U.S. mail postage
   prepaid on this 27th day of December, 2018 upon:

   Stanley D. Rauls
   P.O. Box 21665
   Little Rock, AR 72221
   sdr@aristotle.net


                                              Isl Joseph P. McKay
                                             Joseph P. McKay




Entry of Appearance                                                                           2/2
